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 1 PHILLIP A. TALBERT
   United States Attorney
 2 ANTONIO J. PATACA
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:22-CR-00267-JLT-SKO
12                                 Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           ORDER
14   JUAN CARLOS RUIZ JR,                                DATE: 1/18/2023
     ANGEL SANCHEZ,                                      TIME: 1:00 p.m.
15   ALMA SANCHEZ,                                       COURT: Hon. Sheila K. Oberto
     SOSTENES QUINTERO LOPEZ,
16   JAVIER ALFONSO LOPEZ LOPEZ,
17                                Defendant.
18

19                                               BACKGROUND

20          This case is set for status conference on 1/18/2023. On May 13, 2020, this Court issued General

21 Order 618, which suspends all jury trials in the Eastern District of California “until further notice.”

22 Under General Order 618, a judge “may exercise his or her authority to continue matters, excluding time

23 under the Speedy Trial Act with reference to the court’s prior General Order 611 issued on March 17,

24 2020 . . . with additional findings to support the exclusion in the Judge’s discretion.” General Order

25 618, ¶ 6 (E.D. Cal. May 13, 2020). In addition, any judge “may order case-by-case exceptions” to

26 General Order 618’s provisions “at the discretion of that Judge or upon the request of counsel, after

27 consultation with counsel and the Clerk of the Court to the extent such an order will impact court staff

28 and operations.” General Order 618, ¶ 7 (E.D. Cal. May 13, 2020). This, previous, and subsequent

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 1 General Orders were entered to address public health concerns related to COVID-19.

 2           Although the General Orders address the district-wide health concern, the Supreme Court has

 3 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

 4 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

 5 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

 6 exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such failure cannot be harmless. Id. at

 7 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

 8 judge ordering an ends-of-justice continuance must set forth explicit findings on the record “either orally

 9 or in writing”).

10           Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

11 and inexcusable—General Orders 611, 612, 617, and 618 require specific supplementation. Ends-of-

12 justice continuances are excludable only if “the judge granted such continuance on the basis of his

13 findings that the ends of justice served by taking such action outweigh the best interest of the public and

14 the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable

15 unless “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that

16 the ends of justice served by the granting of such continuance outweigh the best interests of the public

17 and the defendant in a speedy trial.” Id.

18           The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

19 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

20 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

21 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

22 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court

23 recognized that the eruption created “appreciable difficulty” for the trial to proceed. Id. at 767-69; see

24 also United States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time

25 following the September 11, 2001, terrorist attacks and the resultant public emergency).

26           The coronavirus poses a similar, albeit more enduring, “appreciable difficulty” to the prompt

27 proceedings mandated by the statutory rules. Recently, the Ninth Circuit enumerated a “non-

28 exhaustive” list of seven factors it found to be “relevant” in considering ends-of-justice Speedy Trial Act

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 1 continuances “in the context of the COVID-19 pandemic.” United States v. Olsen, --- F.3d ---, 2021 WL

 2 1589359 at *7 (9th Cir. Apr. 23, 2021). That non-exhaustive list includes: (1) whether a defendant is

 3 detained pending trial; (2) how long a defendant has been detained; (3) whether a defendant has invoked

 4 speedy trial rights since the case’s inception; (4) whether a defendant, if detained, belongs to a

 5 population that is particularly susceptible to complications if infected with the virus; (5) the seriousness

 6 of the charges a defendant faces, and in particular whether the defendant is accused of violent crimes;

 7 (6) whether there is a reason to suspect recidivism if the charges against the defendant are dismissed;

 8 and (7) whether the district court has the ability to safely conduct a trial. Id.

 9          In light of the foregoing, this Court should consider the following case-specific facts in finding

10 excludable delay appropriate in this particular case under the ends-of-justice exception, § 3161(h)(7)

11 (Local Code T4). If continued, this Court should designate a new date for the status conference. United

12 States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any pretrial continuance must be

13 “specifically limited in time”).

14                                                STIPULATION

15          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

16 through defendant’s counsel of record, hereby stipulate as follows:

17          1.      By previous order, this matter was set for status conference on 1/18/2023.

18          2.      By this stipulation, defendant now moves to continue the status conference until

19 3/29/2023, and to exclude time between 1/18/2023, and 3/29/2023, under 18 U.S.C. § 3161(h)(7)(A),

20 B(ii) [Local Code T4].

21          3.      The parties agree and stipulate, and request that the Court find the following:

22                  a)      The government has represented that the discovery associated with this case

23          includes wiretap recordings, thousands of pages of investigative reports, video, audio recordings,

24          cell phone extractions, and other voluminous materials. A portion of this discovery has been

25          either produced directly to counsel, made available for inspection and copying, or is being

26          processed for supplemental discovery.

27                  b)      Counsel for defendants desire additional time to consult with their clients, review

28          the voluminous discovery, conduct independent investigation, and pursue a potential pretrial

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 1          resolution of the case.

 2                  c)      Counsel for defendants believe that failure to grant the above-requested

 3          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 4          into account the exercise of due diligence.

 5                  d)      The government does not object to the continuance.

 6                  e)      Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                  f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of 1/18/2023 to 3/29/2023, inclusive,

11          is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(ii) [Local Code T4] because it is

12          so unusual or so complex, due to the number of defendants, the nature of the prosecution, or the

13          existence of novel questions of fact or law, that it is unreasonable to expect adequate preparation

14          for pretrial proceedings or for the trial itself within the time limits established by this section.

15          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19

20
      Dated: January 4, 2023                                   PHILLIP A. TALBERT
21                                                             United States Attorney
22
                                                               /s/ ANTONIO J. PATACA
23                                                             ANTONIO J. PATACA
                                                               Assistant United States Attorney
24
      Dated: January 4, 2023                                   /s/ MARK COLEMAN
25                                                             MARK COLEMAN
                                                               Counsel for Defendant
26
                                                               JUAN CARLOS RUIZ
27

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     Dated: January 4, 2023                        /s/ PETER JONES
 1                                                 PETER JONES
                                                   Counsel for Defendant
 2
                                                   ANGEL SANCHEZ
 3

 4   Dated: January 4, 2023                        /s/ KEVIN ROONEY
                                                   KEVIN ROONEY
 5                                                 Counsel for Defendant
                                                   ALMA SANCHEZ
 6

 7   Dated: January 4, 2023                        /s/ ERIC KERSTEN
                                                   ERIC KERSTEN
 8                                                 Counsel for Defendant
 9                                                 SOSTENES QUINTERO
                                                   LOPEZ
10

11   Dated: January 4, 2023                        /s/ MELISSA BALOIAN
                                                   MELISSA BALOIAN
12                                                 Counsel for Defendant
                                                   JAVIER ALFONSO LOPEZ
13                                                 LOPEZ
14

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17                                           ORDER
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19        IT IS SO ORDERED.
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22
     DATED: 1/5/2023
23                                           THE HONORABLE SHEILA K. OBERTO
                                             UNITED STATES MAGISTRATE JUDGE
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